  Case 8:13-cv-02703-RAL-E_J Document 1 Filed 10/21/13 Page 1 of 4 PageID 1




                         UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA


                             )
ELEANOR M. TORTOSO,          )
                             )
          Plaintiff,         )
                             ) Civil Action No.
v.                           )
                             )
                             )
COMMERCIAL RECOVERY SYSTEMS, )
INC.; and                    )
                             )
DOE 1-5                      )
.,………….Defendants.           )
                             )
                             )
                             )




                                          COMPLAINT
                                      (Jury Trial Demanded)

       1.      Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.

1692 et seq. (“FDCPA”).



                                 JURISDICTION AND VENUE

       2.      This Court exercises jurisdiction under 15 U.S.C. 1692k and 28 U.S.C. 1331.

This District is of proper venue as Plaintiff is a resident within this District and Defendants

engaged in collection efforts against Plaintiff while Plaintiff so resided.




                                                  1
  Case 8:13-cv-02703-RAL-E_J Document 1 Filed 10/21/13 Page 2 of 4 PageID 2




                                             PARTIES

         3.    Plaintiff, ELEANOR M. TORTOSO (hereinafter “Plaintiff” or “Mrs. Tortoso”), is

a natural person residing in Sarasota, Florida. Defendant COMMERCIAL RECOVERY

SYSTEMS, INC. is believed to be a Texas corporation with a principle place of business at 8035

East R.L. Thornton Freeway, Suite 205, in Dallas, Texas.

         4.    Plaintiff is ignorant of the true names and capacities of the defendants sued

herein as DOE 1-5, and therefore sues these defendants by such fictitious names. Plaintiff will

amend this Complaint to allege the true names and capacities once ascertained. Plaintiff believes

and thereon alleges that the fictitiously named defendants are responsible in some manner for the

occurrences herein alleged, and that such defendants are responsible to Plaintiff for damages

and/or monies owed.

         5.    COMMERCIAL RECOVERY SYSTEMS, INC. and DOE 1-5 shall hereafter be

jointly referred to as “Defendants.”

         6.    Defendants regularly operate as third-party debt collectors and are “debt

collectors” as defined by 15 U.S.C. 1692a.



                                  FACTUAL ALLEGATIONS

         7.    Defendants engaged in an attempt to collect a consumer credit card debt allegedly

owed by Ms. Tortoso.

         8.    Mrs. Tortoso is 84 years old and resides with her son. A single landline phone is

in service at the household. Mrs. Tortoso’s son maintains an answering machine on the home

phone.




                                                2
  Case 8:13-cv-02703-RAL-E_J Document 1 Filed 10/21/13 Page 3 of 4 PageID 3




       9.      At various times, included on or about November 12, 28, December 17, 19, 24,

and 26, 2012, Defendants left telephone messages on the household phone used by Mrs.

Tortoso’s son, the content of which are substantially as follows: “This message is intended for

Eleanor Tortoso. If you are not Eleanor please disconnect. If you are Eleanor Tortoso, please

continue listening… There will now be a pause… By continuing to listen, you acknowledge you

are Eleanor Tortoso. This message contains private information. Do not listen where others cn

hear, there will now be another short pause… This is Angela Brown from Collection Recovery

Systems… This is an attempt to collect a debt and any information obtained will be used for that

purpose. Please call me at 1-800-214-5332 regarding account #3826338.”

       10.     Mrs. Tortoso’s son, acting reasonably in not wanting the delete messages that may

be of importance, medical related or otherwise, listened to the messages.

       11.     At no point in time did Mrs. Tortoso authorize Defendants to communicate with

her son regarding any debts she allegedly owed.

       12.     As a direct result of the collection activity herein alleged, Ms. Lane incurred legal

fees of $1,455.00.



                                     CAUSES OF ACTION

                                            COUNT I

       13.     Plaintiff re-alleges paragraphs 1 through 12, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692c(b) by

communicating, in connection with the collection of a debt, with a third-party without Plaintiff’s

consent.




                                                  3
  Case 8:13-cv-02703-RAL-E_J Document 1 Filed 10/21/13 Page 4 of 4 PageID 4




                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, recovery for

each cause of action in the alternative, as follows:


       1.) For statutory damages in the amount of $1,000 pursuant to 15 U.S.C. 1692k(2);

       2.) For $1,455.00 for legal costs incurred in responding to unlawful collection activity;

       3.) For prejudgment interest in an amount to be proved at time of trial;

       4.) For attorney’s fees pursuant to 15 U.S.C. 1692(k);

       5.) For the costs of this lawsuit; and

       6.) For any other and further relief that the court considers proper.



                                         JURY DEMAND

       Plaintiff demands a jury trial.


Date: October 11, 2013


                                                 ________________________________________
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